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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) VICKI JO LEWIS, Individually and as     )
Co-Personal Representative of the ESTATE OF )
ISAIAH MARK LEWIS, deceased; and            )
(2) TROY LEVET LEWIS, Individually and as   )
Co-Personal Representative of the ESTATE OF )
ISAIAH MARK LEWIS, deceased,                )
                                            )
                Plaintiffs,                 )
                                            )
v.                                          )               Case No. CIV-19-489-R
                                            )
(1) CITY OF EDMOND, an Oklahoma Municipal )
Corporation;                                )
(2) POLICE SGT. MILO BOX, Individually; and )
(3) POLICE OFFICER DENTON SCHERMAN, )
Individually,                               )
                                            )
                Defendants.                 )

                                        ORDER
       The Court reluctantly grants Plaintiff’s Motion for Revised Scheduling Order

[Doc. 25].

       This case has been on file for well over a year and it is apparent that Plaintiffs

have done very little to pursue the matter. Additionally, it is apparent that Defendants

have had to drag discovery out of Plaintiffs and then, only after repeated phone calls and

e-mails. If this continues, the Court will enter sanctions up to and including dismissal of

the case.

       That being said, the Court finds that there is no indication that a 90-day

continuance would prejudice the Defendants and thus it is granted.
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       If Plaintiffs wish to amend their pleadings, they must do so within 7 days of the

date of this Order, without prejudice to Defendants objecting thereto.

       The remaining Scheduling Order deadlines are extended as follows:

      Plaintiff to file final list of expert                   January 4, 2021
      witnesses-in-chief and provide
      expert reports

      Defendants to file final lists of expert                 January 18, 2021
      witnesses-in-chief and provide expert
      reports

      Plaintiff to file final list of witnesses-               January 4, 2021
      in-chief, with address and summary of
      expected testimony for each witness
      who has not been deposed

      Defendants to file final lists of witnesses-             January 18, 2021
      in-chief, with address and summary of
      expected testimony for each witness
      who has not been deposed

      Plaintiff to file final list of exhibits and             January 4, 2021
      provide all listed exhibits

      Defendants to file final lists of exhibits and           January 18, 2021
      provide all listed exhibits

      Parties to file all objections to a final witness
      list or to a final exhibit list 14 days after the
      list is filed

      Parties to file all dispositive and Daubert              February 1, 2021
      motions

      Parties to complete discovery                            March 1, 2021

      Designations of deposition testimony                    March 15, 2021
      to be filed
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      Objections and counter-designations                      March 22, 2021
      to be filed

      Requested voir dire, requested jury                      April 1, 2021
      instructions and motions in limine

      Objections to requested voir dire
      requested jury instructions and motions
      in limine                                                April 6, 2021

      Final Pretrial Report                                    April 1, 2021

      The parties are advised that the trial in this matter will be set on the Court’s April

2021 jury-trial docket, which is scheduled to begin April 13, 2021.

      IT IS SO ORDERED this 12th day of August 2020.
